                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


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SHEILA LYONS, DVM and                          )
HOMECOMING FARMS INC.,                         )
                                               )
                  Plaintiffs,                  )
                                               )
 v.                                            )         Civil Action No. 1:11-cv-12192
                                               )
 THE AMERICAN COLLEGE OF                       )
 VETERINARY SPORTS MEDICINE                    )
 AND REHABILITATION, INC. and                  )
 THE AMERICAN VETERINARY                       )
 MEDICAL ASSOCIATION, INC.,                    )
                                               )
                  Defendants.
                                               )
                                               )
                                               )


                        DECLARATION OF ROBERT L. GILLETTE
                  IN SUPPORT OF OPPOSITION TO MOTION TO STRIKE

I, Robert L. Gillette, declare and state as follows:

      1. I hold a Doctorate of Veterinary Medicine from Kansas State University. I serve on the
         Board of Directors of the American College of Veterinary Sports Medicine and
         Rehabilitation (the “College”), a Colorado non-profit, and I am a past President of that
         organization and also served on its organizing committee (the “Organizing Committee”).
         I have personal knowledge of the facts discussed herein.

      2. I am familiar with the College’s Counterclaims in the above-referenced matter, and the
         exhibits attached thereto. In particular, Exhibits C, D, E, H, I, K & L were all documents
         that came into my possession, and that I preserved, in the course of my responsibilities as
         President and then board member of the College and member of the Organizing
         Committee.

      3. Exhibit C to the College’s Counterclaims is a true and accurate copy of an email
         exchange between myself and Sheila Lyons in December 2001 and January 2002.



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4. Exhibit D to the College’s Counterclaims is a true and accurate copy of an email sent by
   Sheila Lyons to me in January 2003, and the attachment thereto.

5. The first page of Exhibit E to the College’s Counterclaims is a true and accurate copy of
   an email I sent to the organizing committee of the College, including Sheila Lyons, about
   the College’s website in December 2002. The remainder of this exhibit is a true and
   accurate copy of portions of the College’s website at that time.

6. Exhibit H to the College’s Counterclaims contains two documents, a true and accurate
   copy of an email I sent to Sheila Lyons in January 2003, and a true and accurate copy of
   an email exchange between myself and Sheila Lyons in January 2003.

7. Exhibit I to the College’s Counterclaims contains two documents, a true and accurate
   copy of an email I sent to the College’s organizing committee in January 2003, and a true
   and accurate copy of Sheila Lyons’ email to me in response.

8. Exhibit K to the College’s Counterclaims contains a flier and brochure for a seminar
   which were forwarded to me by Betsy Erickson in June 2004.

9. Exhibit L to the College’s Counterclaims is a true and accurate printout of the website
   http://home.comcast.net/~homecomingfarm, which I visited on July 31, 2004.

10. Ellen Asack and Betsy Erickson have sent me unsolicited correspondence about Sheila
    Lyons in the past, but they are not members of the College nor are they associated with
    the College in any way.

11. Neither the College nor myself were party to or otherwise had any involvement with
    Massachusetts Superior Court matter SUCV2009-04035 (Sheila Lyons, DVM v. Division
    of Professional Licensure) or Board of Registration in Veterinary Medicine matter No.
    VT-05-046 (In the Matter of Sheila Lyons Unlicensed).

12. On June 29, 2004, I visited the web site http://www.homecomingfarm.org and printed it.
    A true and accurate copy of that printout is attached to this affidavit as Exhibit 1. The site
    consisted of one page, which referred visitors to
    http://home.comcast.net/~homecomingfarm.

13. Neither myself nor the College has issued any statement with regard to Sheila Lyons’
    stance on doping or the horse racing industry.



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   14. None of the documents referenced in this affidavit or the College’s counterclaims have
       been forged or, to the best of my knowledge, substantively altered in any way since
       coming into my possession.

   I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct.


                                                /s/ Robert L. Gillette
                                                Robert L. Gillette

                                                Dated 10/1/12




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                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on the above date.

                                                      /s/ David A. Kluft




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